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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,               PO-21-05205-GF-JTJ

             Plaintiff,                  VIOLATION:
                                         E1102485
      vs.                                Location Code: M13

 IAN A. BUCHANAN,                        ORDER

             Defendant.


      Upon unopposed motion of the United States and for good cause shown, IT

IS ORDERED that the initial appearance in this case currently scheduled for

December 9, 2021 is VACATED and RESCHEDULED for 9:00 a.m. on

February 10, 2022, at the Missouri River Courthouse in Great Falls, Montana.

      DATED this 2nd day of December, 2021.
